Filed 11/02/23                                                           Case 23-23940                                                                           Doc 1
    V.,




      United States Bankruptcy Court for the:                                                             FILED
          Eastern               District of     California                                              NOV -2 2023
      Case number (if knówn) 25     -   3.34 '4                  Chapter 11                    UNITED STATES BANKRUPTCY COURT
                                                                                                                                       U Check If this Is an
                                                                                                EASTERN DISTRICT OF CALIFORNIA
                                                                                                                                           amended filing




    Official Form 201
    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           ova
    If more space Is needed, attach e separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
    number (If known). For more Information, a separate document Ins frucb'ons for Bankruptcy Fbnns for Non-IndIvIduaIa Is available.



     'I. Debtor's name         -                        Capsity, Inc.




     2. All other names debtor used
        In the iadt 8 yeats
          Include any assumed names,
          bade names, and doing business
          as names



     a Debtors federal Employer                 4 6-375                     8 49 0
       Identification Number (EIN)



     t Debtor's address                         Principal place of business                                   Mailing address, If different from principal place
                                                                                                              of business
                                                  3810 Broadway
                                                Number         Street                                         Number      Street



                                                  Sacramento CA 95817
                                                City                              State     ZIP Code          City                        State       ZIP Code

                                                                                                              Location of principal assets, If dIfferent from
                                                                                                              principal place of business
                                                         Sacramento
                                                                                                              Number      Street




                                                                                                              City                        State       ZIP Code



     5. Debtor's website (LJRL)                             WwW.CapSittCOm




    Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
Filed 11/02/23                                                 Case 23-23940                                                                        Doc 1

                               Inc.                                                        Case number


                                         El Corporation Qndudlng Limited Uablllty Company (LLC) and Umited Uabllity Partnership (ISP))
     a. Type of debtor
                                         U Partnership (excluding UP)
                                         Cl Other. Specify.

                                         A. Chock one:
     7. Describe debtor's business
                                         O Health Cam Business (as defined In 11 U.S.C. § 101(27A))
                                         U Single Asset Real Estate (as defined In 11 U.S.C. § 101(516))
                                         U Railroad (as defined in 11 U.S.C. § 101 (44))
                                         Cl Stockbroker (as defined In 11 U.S.C. § 101 (53A))
                                         U Commodity Broker (as defined bill U.S.C. § 101 (6))
                                         U Cleating Bank (as defined in 11 U.S.C. § 781(3))
                                         El None of the above


                                           Check all that apply

                                         U Tax-exempt entity (as described In 26 U.S.C. § 501)                         -

                                         U Investment company, Including hedge fund or   pooled Investment vehicle (as  defined In 15 U.S.C.
                                            §80a-3)
                                         U Investment advisor (as defined in 15 U.S.C. § e0b-2(axl1))

                                            NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            htpj.usoourts.gov/four-digit.nptIonal-associatlon-naics-deS.



     a. Under which chapter of. the      Check one:
        Bankruptcy Code is the
        debtor filing?
                                         U Chapter?
                                         U Chapter 9
                                         U Chapter II. Check all that apply.
                                                       U Debtots aggregate nonntingent liquidated debts (excluding debts owed to
                                                          insiders or affiliates) are less than $3.024.725 (amount subject to adjustment on
                                                          4101/25 and every 3 years after that).
                                                       U The debtor isa small business debtor asdefined In 11 U.S.C. § 101(51D). it the
                                                              debtor Is a small business debtor, attach the most recent balance sheet statement
                                                           of operations, cash-flow statement, and federal Income tax return or If all of these
                                                           documents do not exist, fellow the procedure In 11 V.S.C. § 1116(IXB).
                                                         Ume debtor is a small business debtor as defined in 11 U.S.C. § 101(510). and it
                                                           chooses to proceed under Subchapter V of Chapter 11.

                                                         U A plan is being filed with this petition.
                                                         U Acceptances of the plan were solicited prepetitlon from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                         U The debtor Is required to file periodic reports (for example. 101K and 100) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-lndMduals Filing
                                                              ror Bankruptcy under Chapter II (Official Form 201A) with this form.

                                                         U The debtor Is a shell company as defined in the Securities Exchange Ad of 1934 Rule
                                                              12b-2.


     e. Were prior bankruptcy cases      U No
        filed by or against the debtor
                                         UYes. Disbiet                                When                    Case number
        wlthln the last 8years?
                                                                                             MM/ ODIYYVV
        If more than 2 eases, attach a                                                When                    Case number
        separate list                             DISM
                                                                                             MM DID IYYYY


     Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
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    Debtor                   Capsity, Inc.                                                       Case numbercrweern_____________________

     to. Are     any bankruptcy cases        Ell No
           pending or being    flied by a
           business partner or an
                                             Elves. Debtor                                                           Relationship
           affiliate of the debtor?                                                                                  When
           List all cases. If more than 1,                                                                                          MM I    DD       rrriv
           attach a separate list.                       Case number, If known


     ii. Why is the case tiled in this       Check    all that apply:
         district?
                                             U Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                         -




                                                Immediately preceding the date of this petition or for a longer part of such l8o days than in any other
                                                district.


                                             El A bankruptcy case concerning debtors affiliate, general partner, or partnership Is pending In this district.'


     12;   Does the debtor own or have       Q No
           possession of any real
                                             U Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
           property or personal property
           that needs immediate                        Why   does the property need Immediate attention? (Check all thafply.)
           attention?
                                                       U it poses or is alleged to pose a threat of imminent and identiffable haiard to public health or safety.
                                                            What is the hazard?


                                                       El It needs to be physically secured or protected from the weather.
                                                       El It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                            assets or other options).


                                                       U Other                                              foreclosure sale on

                                                                                         1830 Del Paso Blvd
                                                       Where is the property?
                                                                                   Number        Street


                                                                                         Sacramento                                  CA. 95815
                                                                                  City                                              Stake ZIP Coda


                                                       Is the property Insured?
                                                       UNo
                                                       U Yes. Insurance agency
                                                                 Contact flame

                                                                 Phone



                   Statistical and adminlsfrative Infonnatien


           Debtor's estimation of            Check one:
           available funds                   U Funds will be available for distribution to unsecured creditors.
                  -                          U After any administrative expenses are paid, no hinds will be availablefor distribution to unsecured creditors.

                                             U 1-49                              U 1,000-5,000                           U 25,001-50,000
           Estimated number of
           creditors
                                             u 50-99                             U 5,001-10,000                          0 50,001-100,000
                                             U ioo-igg                           U io,00i-,000                           U More than 100,000
                                             U2oo-ggg


     Official Form 201                          voluntary Petition for   Non-Individuals Filing for Bankruptcy                                   page 3
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    Debtor            Capsity, Inc.                                                                   Case number (rb,vnml_____________________
                Nsn      -




                                                 J $0450,000                       U $1 .000,001410 million                   U $500,000,001$1 billion
     is. Estimated assets                                                          U $10,000,001-$50 million                  U $1,000.000,001-$10 billion
                                                 U $50.001-$100.000
                                                 U s100,001-ssoo.000                   $50.000,001$100 million                U $10,000,000,001450 billion
                                                 U $500.00141 million              U $100,000,0014500 million                 E3 More than $50 billion

                                                    so-sso,000                      I $1.000,001410 million                   L3 $500,000,001-sI billion
     is. Estimated liabilities                                                     U $1 0,000,001-M million.
                                                 U s5o.00i-s1oo.000                                                           Q $1.000,000.001-510 billion
                                                 U s100,001-sso0.000               U $50,000,001-$100 million                 O $10.000,000,001-$50 billion
                                                    $500,001-$1 million            C] $100,000,001-$500 million               Q More than $50 billion



               Request for Relief, Declaration, and Signatures


     WARNING    -   Bankruptcy fraud Is a serious crime. Making a false statement In connection with a bankruptcy case can result in tines up to
                    $500,000 orlmprlsonméntfor upto 20 years, or both. iS U.S.C. fi 152, 1341, 1519, and 3511


     17. Declaration and signature of                The debtor requests relief In accordance with the chapter of tide 11, United States Code, specified in this
        authorized representative of
                                                     peiition
        debtor

                                                     I have been authorized to file this petition on behalf of the debtor.


                                                     I have examined the information in this petition and have a reasonable belief that the information is true and



                                                 I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on      11/01/2023
                                                                             /VYVV

                                                                  7Z                                                   Dmitri Godamunne
                                                    SIgriaWreof authorized representative of debtor            Printed name

                                                    Title         CEO"


     is. Signature of attorney
                                             .
                                                 X                                                             Date
                                                     signature ofattorney for debtor                                         MM     /00 IYYYV




                                                    Number        Sheet

                                                                                                                    State           ZIP Code


                                                    Contact phone                                                   Email address



                                                    Bar number                                                      State




                                                     Voluntary Petition for Non-individuals Filing for Bankruptcy                                page 4
     Official Form 201
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          Debtor: Capsity, Inc.




                                                  Attachment



          Capsity, Inc. has property in an active Foreclosure Trustee Sale on November 2, 2023 at 1:30 pm.

          Place of sale is the East main entrance to County Courthouse 720 9th. Street, Sacramento, CA.

          If said property is sold, it will bring harm and create .a situation where Capsity, Inc. will be
          unable to meet the obligations of its creditors.




             Ii
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           Debtor: Capsity, Inc.



                                   Attachment A




                                                    7
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                 RECORDING REQUESTED 13?


                 AND WHEN RECORDED MAIL TO:

                 TLS
                 P0 Box 910739
                 San Diego, CA 92191-0739


                                                                                               SPACE ABOVE ThIS LI$E FOR RECORDER'S USE


                 T.S. No.: 230623212                   Loan No.: 392827-PPM                Order No. 2329980CAD
                 APN: 275-0095-004-0000;         Property Address: 2830 & 1922 Del Paso Blvd Sacramento, CA 95815
                 275-0095-017-0000; 275-
                 0095-005-0000


                                                 NOTICE OF TRUSTEE'S SALE
                       NOTE: THERE IS A SUMMARY OF THE INFORMATION IN THIS DOCUMENT ATTACHED
                                                  ii :
                                          %A           t%A-jolj JnpM'nteq4
                         NOTA: SE ADJUNTA UN RESUMEN DE LA INFORMACION DE ESTE DOCUMENTO
                       TALk MAYROONG BUOD NO IMPORMASYON SA DOKUMENTONG [TO NA NAKAL.AKIP
                    LLYU'?: KEM TI-lEO DAY LA BAN TRINH BAY TOM LLIVC yE THONG TIN TRONG TAI LI5U NAY

                 PURSUANT TO CIVIL CODE §2923.3(a), THE SUMMARY OF INFORMATION REFERRED TO ABOVE IS
                 NOT ATTACHED TO THE RECORDED OR PUBLISHED COPY OF THIS DOCUMENT. BUT ONLY TO THE
                 COPIES PROVIDED TO THE TRUSTOR.

                 YOU ARE IN DEFAULT UNDER A DEED OF TRUST DATED 1/31/2020- UNLESS
                 YOU TAKE ACTION TO PROTECT YOUR PROPERTY, IT MAY BE SOLO AT A
                 PUBLIC SALE. IF YOU NEED AN EXPLANATION OF THE NATURE OF THE
                 PROCEEDING AGAINST YOU, YOU SHOULD CONTACT A LAWYER.
                  A public auction sale to the highest bidder for cashier's check drawn on a state or national bank, cashier's
                 check drawn by a slate or federal credit union, or a cashier's check drawn by a state or federal savings and
                  loan association, or savings association, or savings bank specified in Section 5102 of the Financial Code
                 and authorized to do business in this stale will be held by the duly appointed trustee as shown below, of
                 all right, title, and interest conveyed to and now held by the trustee in the hereinafter described property
                 under and pursuant to a Deed of Trust described below. The sale will be made, but without covenant or
                 warranty, expressed or implied, regarding title, possession, or encumbrances, to pay the remaining
                 principal sum of the note(s) secured by the Deed of Trust, with interest and late charges thereon, as
                 provided in the note(s), advances, under the tennis of the Deed of Trust, interest thereon, fees, charges and
                 expenses of the Trustee for the total amount (at the time of the initial publication of the Notice of Sale)
                 reasonably estimated to be set forth below. The amount may be greater on the tiny of sale. No cashier's
                 checks older than 60 days from the day of sale will be accented.
Filed 11/02/23                                                Case 23-23940                                                         Doc 1




                 Trustor: Capsity Inc., a California Corporation
                 Duly Appointed Trustee: Total Lender Solutions, Inc.
                 Recorded 2/1 112020 as Instrument No. 202002111654 in book ,page of Official Records in the office
                 Of file Recorder of Sacramento County, California,
                 Date of Sale: 11/2/2023 at 1:30 PM
                 Place of        East main entrance to County Courthouse 720 9th Street, Sacramento, CA
                 Sale:
                 Amount of unpaid balance and other charges: $1,470,015.83
                 Street Address or oilier common designation of real       1830 & 1922 Del Paso Blvd
                 property:                                                 Sacramento, CA 95815
                 A.P.N.: 275-0095-004.0000; 275-0095-017-0000; 275-0995-005-0000

                 The undersigned Trustee disclaims any liability for any incorrectness of the Street address or other
                 common designation, if any, shown above. If no Street address or other common designation is shown,
                 directions to the location of the property may be obtained by sending a written request to the beneficiary
                 within 10 days of the date of first publication of this Notice of Sale.

                  NOTICE TO POTENTIAL BIDDERS: If you are considering bidding on this property lien, you should
                  understand that there are risks involved in bidding at a trustee auction. You will be bidding on a lien, not
                  on the property itself. Placing the highest bid at a trustee auction does not automatically entitle you to free
                  and clear ownership of the property. You should also be aware that the lien being auctioned off may be a
                  junior lien. If you are the highest bidder at the auction, you are or may be responsible for paying oft all
                  liens senior to the lien being auctioned off, before you can receive clear title to the property. You are
                  encouraged to investigate the existence, priority, and size of outstanding liens that may exist on this
                  property by contacting the county recorder's office or a title insurance company, either of which may
                  charge you a fee for this information. If you consult either of these resources, you should be aware that
                  the same lender may hold more than one mortgage or deed of trust on the property.

                 NOTICE TO PROPERTY OWNER: The sale date shown on this notice of sale may be postponed one or
                 more times by the mortgagee, beneficiary, trustee, or a court, pursuant to Section 2924g of the California
                 Civil Code. The law requires that information about trustee sale postponements be made available to you
                 and to the public, as a courtesy to those not present at the sale. If you wish to learn whether your sale date
                 has been postponed, and, if applicable, the rescheduled time and date for the sale of this property, you
                 may call (877) 4404460 or visit this Internet Web site n'a'w.nikconsultantsincconi, using the file
                 number assigned to this case 230623212. Information about postponements that are very short in duration
                 or that occur close in time to the scheduled sale may not immediately be reflected in the telephone
                 information or on the Internet Web site. 'I'lie best way to verit' postponement information is to attend the
                 scheduled sale.

                  NOTICE TO TENANT: You may have a right to purchase this property after the trustee auction pursuant
                  to Section 2924m of the California Civil Code. If you are an 'eligible tenant buyer," you can purchase the
                  property if you match the last and highest bid placed at the trustee auction. If you are an "eligible bidder,"
                  you may be able to purchase the property if you exceed the last and highest bid placed at the trustee
                 auction. There are three steps to exercising this right of purchase. First, 48 hours after the date of the
                  trustee sale, you can call (877) 440-4460, or visit this internet website site www.ilssalcs.info, using the
                 file number assigned to this case 230623212 to find the date on which the trustee's sale was held, the
                 amount of the last and highest bid, and the address olihe trustee. Second, you must send a written notice
                 of intent to place a bid so that tIre trustee receives it no more than IS days after the trustee's sale. Third,
                 you must submit a bid so that the trustee receives it no more than 45 days after the trustee's sale. If you
                 think you may qualify as an "eligible tenant buyer" or "eligible bidder," you should consider contacting
Filed 11/02/23                                              Case 23-23940                                                       Doc 1




                 an attorney or appropriate real estate professional immediately for advice regarding this potential right to
                 purchase.



                 Date: 9/28/2923                                 Total Lender Solutions, Inc.
                                                                 10505 Sorrento Valley Road, Suite 125
                                                                 San Diego, CA 92121
                                                                 Phone: 866-535-3736
                                                                 Sale Line: (877) 440-4460



                                                                 BY:
                                                                       Rachel Seropian, Trustee Sale Officer
Filed 11/02/23                                              Case 23-23940                                                               Doc 1




                                                          Summary of Notice of Sale

                                                           NOTICE OF SALE
                                                      SUMMARY OF KEY INFORMATION


                  The attached notice of sale was sent to Capsity Inc., a California Corporation, in relation to 1830 & 1922 Del Paso
           Blvd, Sacramento, CA 95815.

                 YOU ARE IN DEFAULT UNDER A DEED OF TRUST OR MORTGAGE DATED 1/31/2020. UNLESS YOU TAKE
           ACTION TO PROTECT YOUR PROPERTY, IT MAY BE SOLO AT A PUBLIC SALE.

                IF YOU NEED AN EXPLANATION OF THE NATURE OF THE PROCEEDING AGAINST YOU, YOU SHOULD
           CONTACT A LAWYER.

                   The total amount due in the notice of sale is $1,470,015.83.
                   Your property is scheduled to be sold on 11/2/2023 at 1:30 PM at East main entrance to County Courthouse 720
           9th Street, Sacramento, CA.

                   However, the sale date shown on the attached notice of sale may be postponed one or more times by the
          mortgagee, beneficiary, trustee, or a court, pursuant to Section 2924g of the California Civil Code. The law requires that
          information about trustee sale postponements be made available to you and to the public, as a courtesy to those not
          present at the sale. If you wish to learn whether your sale date has been postponed, and, if applicable, the rescheduled
          time and date for the sale of this property, you may call (877) 4404460 or visit this Internet Web site address
          wMMrnkconsultantsinc.conl, using the tile number assigned to this case 230623212. Information about postponements
          that are very short in duration or that occur close in time to the scheduled sale may not immediately be reflected in the
          telephone information or on the Internet Web site. The best way to verify postponement information is to attend the
          scheduled sale.

                  If you would like additional copies of this summary, you may obtain them by calling 866-535-3736.
Filed 11/02/23                                                                Case 23-23940                                                                                         Doc 1



        Dobtornamo 'I"Y
        United States Bankruptcy Court for the: Eastern                                  Of
                                                                                              (State)                                                       U Check if this is an
        Case number Of known):                                                                                                                                  amended filing




      Official Farm 204
      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
      Unsecured Claims and Are Not Insiders                                    12115                         -




      A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
      disputes. Do not include claims by any person or entity who is an Insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
      secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
      largest unsecured claims.

         .                                                                                                    71               rt".Xfi"* Lt
                                                                                                                                       .

                                           arne[tèlephóne ñuMbir.Jinà?Natüreof the aaim:lhdicate if#AAhoiihtbfunseâuiediainf4!y&4~JYW
       mailing address' incluing ap codej ervauI address of preditor " t J(forpxamlo    tradetk 9Iaim is r                         11 K-1
                                                                                                               the claim is fully dno&uredk fill n'o unoured
                                                                                                           / claim amount If claim is ptiaUy sowred if in
                 ) ,t       ,
                           i.
                                       ..          .s,
                                                           F  iJ ,, 4professional rd', unliquidated total claim amount and deduction for value of
                                                                                     '
                                                                          1serv1ces and '4      or disputeds collateral or setoff to calculate unsecured claim'
      .,JiF'
                •b —             ..                    1_.j
                                                     1J1
                                                                    "..lgoveFnmont                                   4 • y     -S...  '.
                                                                                                        '"       —
                                                                                                                                       Total claim If   Deduction for       Unsecured
      s,uit           .-               g                 3• _
                                                                            IFri i
                                                                                               2        s'                             partially        value W,        '   claim
  r'
               :.
           .C%$lre   y 1j
                                _,1,

                                           I
                                               ",
                                                                ./' .
                                                                            ,

                                                                                                  ..; \&t'           ...- .5   •,.     secured          collateral or
                                                        .h                                .




       Capitol One                                  1 (877) 3834802                      Bank Credit                               .                                        $9500
       P0 Box'30285
       Salt Lake City, Utah                                             -




       Continental Commercial      Michael Peralta                                       Professional                                                                       $4350
       Group       .               818-543-5999                                          Services                                                                -



       1111 N. Brand Blvd. Ste 401
       Golden Pacific Bancorp                       916-444-2450                         Bank Credit                                                                        $8700
       1409 28th Street       /
       Sacramento, CA 95816

  4



  5                         -




  6




  L


      Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditàrs Who Have the 20 Largest Unsecured Claims                                                   page 1
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   r Fil lnuilnrnfln .11flfl.WUnnhi..t*u.and
                                          i this filing:


     Debtor Name Capsity, Inc.

     United States Bankruptcy Court for the: EaStern                    Di tritfCalifornia
                                                                                 (State)
     Case number (If known):
                                                                                                             N




    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12115

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
    this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
    and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
    document, and the date. Bankruptcy Rules 1008 and 9011.
    WARNING -Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in tines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §4 152, 1341,
    1519, and 3571.



               Declaration and signature



            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
            another individual serving as a representative of the debtor in this case.
            I have examined the information in the documents checked below'ind I have a reasonable belief that the information is true and correct:


            U Schedule A/B: Assets-Real and Personal Property (Official Form 206A1B)
            U Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
            U Schedule E'F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
            U Schedule C: Executory Contracts and Unexpired Leases (Official Form 206G)
            U Schedule H: Codebtors (Official Form 206H)
            U Summary of Assets and Liabilities for Non-Indi viduals (Official Form 206Sum)
            U Amended Schedule
            LJ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

            (IOther document that requires a declaration _Attachment A and Supporting Documents

            I declare under penalty of perjury that the foregoing is true and correct.


            Executed on 11/02/23
                               _____________   /
                                                               X
                       MM I DD I YYYY                               Signature of indiAual signing on behalf


                                                                       DmitriGodarnunne
                                                                    Primed name

                                                                       CEO
                                                                    Position or relationship to debtor   -




   Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
